Case 19-33545-sgj7 Doc 335 Filed 09/03/21               Entered 09/03/21 15:18:03     Page 1 of 5



Charles B. Hendricks
State Bar No. 09451050
John Hardy Rogers
State Bar No. 24115647
CAVAZOS HENDRICKS POIROT, P.C.
Suite 570, Founders Square
900 Jackson Street
Dallas, TX 75202
Direct Dial: (214) 573-7328
Fax: (214) 573-7399
Email: jhrogers@chfirm.com

Attorneys for Anne Elizabeth Burns, Chapter 7 Trustee

                IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
_____________________________________
                                      §
IN RE:                                §
                                      §     Case No. 19-33545-sgj7
HOACTZIN PARTNERS, L.P.,              §
                                      §     Hearing Date: September 29, 2021
            Debtor.                   §     Hearing Time: 9:30 a.m.
_____________________________________ §

               TRUSTEE’S APPLICATION FOR EMPLOYMENT OF
                 LYNN PINKER HURST & SCHWEGMANN, LLP
                    AS SPECIAL LITIGATION COUNSEL
        Anne Elizabeth Burns, Chapter 7 Trustee (the “Trustee”) in this case, files this Trustee’s

Application for Employment of Lynn Pinker Hurst & Schwegmann, LLP as Special

Litigation Counsel pursuant to 11 U.S.C. §§ 327(a) and 328(a) and would show the Court as

follows:

                                                Background

        1.       On October 26, 2019 (the “Petition Date”), the Debtor filed for relief under

Chapter 11 of the United States Bankruptcy Code.

        2.       On February 12, 2020, the case was converted to Chapter 7. Anne Elizabeth

Burns was appointed Chapter 7 Trustee for the Debtor’s estate.




Trustee’s Application for Employment of Special Litigation Counsel                  Page 1 of 3
Case 19-33545-sgj7 Doc 335 Filed 09/03/21               Entered 09/03/21 15:18:03      Page 2 of 5




        3.      According to the Debtor’s Statement of Financial Affairs, within two years prior

to the Petition Date, the Debtor transferred over $13 million to insiders.

        4.      Although Peter Salas, the Debtor’s principal insider, has been cooperative in

providing some information relating to the Debtor’s prepetition transfers, the Trustee believes

that there were significant fraudulent transfers by the Debtor that are recoverable for the estate.

                                Trustee’s Proposed Special Counsel

        5.      The Trustee requires the services of special litigation counsel to assist the Trustee

in pursuing chapter 5 causes of action to recover alleged fraudulent transfers by the Debtor.

        6.      The Trustee desires to retain the law firm of Lynn Pinker Hurst & Schwegmann,

LLP (“LPHS”) as special litigation counsel.

        7.      Because the attorneys of LPHS have extensive experience in litigating fraudulent

transfer claims in bankruptcy cases, the Trustee feels that they are well qualified to render the

foregoing services.

        8.      The Trustee believes that said attorneys do not hold or represent any interest

adverse to that of the Trustee or this bankruptcy estate, and that said attorneys are disinterested

persons within the meaning of 11 U.S.C. § 101(14). Attached hereto is the Rule 2014 Statements

of Connections signed by Alan Dabdoub on behalf of LPHS.

        9.      Subject to court approval, said attorneys will be compensated on a 40%

contingency fee basis pursuant to the terms of the Engagement Letter dated September 2, 2021.

LPHS’s engagement shall be conditioned upon the closing of an agreement with a third-party

funding source on terms no less favorable than the terms set forth in the proposal attached to the

Engagement Letter. A copy of the Engagement Letter is attached hereto as Exhibit A.




Trustee’s Application for Employment of Special Litigation Counsel                   Page 2 of 3
Case 19-33545-sgj7 Doc 335 Filed 09/03/21               Entered 09/03/21 15:18:03     Page 3 of 5




        10.     The Trustee has not paid LPHS a retainer and understands that special litigation

counsel will seek compensation on a final basis, pursuant to 11 U.S.C. § 330.

        WHEREFORE, The Trustee prays that she be authorized to employ the law firm of Lynn

Pinker Hurst & Schwegmann, LLP as her special litigation counsel to render services in the areas

described above, with compensation to be paid pursuant to 11 U.S.C. 328(a) as an administrative

expense.

                                        Respectfully submitted,

                                        /s/ John Hardy Rogers
                                        Charles B. Hendricks
                                        State Bar No. 09451050
                                        John Hardy Rogers
                                        State Bar No. 24115647
                                        CAVAZOS HENDRICKS POIROT, P.C.
                                        Suite 570, Founders Square
                                        900 Jackson Street
                                        Dallas, TX 75202
                                        Phone: (214) 573-7328
                                        Email: jhrogers@chfirm.com

                                        Attorneys for Anne Elizabeth Burns,
                                        Chapter 7 Trustee




Trustee’s Application for Employment of Special Litigation Counsel                  Page 3 of 3
Case 19-33545-sgj7 Doc 335 Filed 09/03/21              Entered 09/03/21 15:18:03          Page 4 of 5



Alan Dabdoub
State Bar No. 24056836
Lynn Pinker Hurst & Schwegmann
2100 Ross Avenue, Suite 2700
Dallas, TX 75201

Proposed Special Counsel for Anne Elizabeth Burns,
Chapter 7 Trustee

                IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
_____________________________________
                                      §
IN RE:                                §
                                      §
HOACTZIN PARTNERS, L.P.,              §     Case No. 19-33545-sgj7
                                      §
            Debtor.                   §
_____________________________________ §

    RULE 2014 STATEMENT OF CONNECTIONS OF ALAN DABDOUB
        I, Alan Dabdoub, hereby declare under penalty of perjury the following:

        I am a partner at Lynn Pinker Hurst & Schwegmann (“LPHS”) and seek to be employed as

special litigation counsel for the Trustee in the case of Hoactzin Partners, L.P. (the “Debtor”). I have

reviewed the foregoing application and, to the best of my knowledge and belief, the statements and

assertions there are true and correct.

        Neither I, nor LPHS have any known connections with the Debtor, the United States Trustee

or any person employed in the office of the United States Trustee, and – to the extent heretofore

identified in the filings in this case – the creditors, any other party in interest, their respective

attorneys or accountants.

        I acknowledge and understand that all proceeds attributable to causes of action brought on

behalf of the Trustee by special counsel must be distributed to the Trustee where same will be held

by her subject to payment of LPHS’s fees and costs after a separate application has been made to and

granted by the above-referenced Bankruptcy Court.

Rule 2014 Statement of Connections                                                           Page 1 of 2
Case 19-33545-sgj7 Doc 335 Filed 09/03/21            Entered 09/03/21 15:18:03        Page 5 of 5




       Other than with its own members, LPHS will not share with any person or firm the

compensation it is to be paid for professional services rendered in connection with this case.

       Dated September ____, 2021.




                                                     ___________________________
                                                     Alan Dabdoub
                                                     State Bar No. 24056836
                                                     Lynn Pinker Hurst & Schwegmann
                                                     2100 Ross Avenue, Suite 2700
                                                     Dallas, TX 75201

                                                     Proposed Special Counsel for
                                                     Anne Elizabeth Burns, Chapter 7 Trustee




Rule 2014 Statement of Connections                                                       Page 2 of 2
